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Exhibit D
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ELITE CASINO EVENTS, LLC, )
)
Plaintiff, ) Civil Action No. 2:23-cv-01281-LPL
Vv. )
)
ELITE CASINO EVENTS, LLC, )
)
Defendant. )
AFFIDAVIT

COMMONWEALTH OF PENNSYLVANIA )
) SS:
COUNTY OF ALLEGHENY )

Before me, the undersigned, deposes and states as follows:

1. Iam Jaden Rankin-Wahlers, Esq., and I have assisted David G. Oberdick as counsel
for Plaintiff, Elite Casino Events LLC.

2. I am over 18 years of age and fully competent and capable of making this Affidavit.

3. I am authorized to provide this Affidavit in support of the Motion for Alternative

Service of Process.

4, All of the facts set forth herein as to efforts of service coordinated directly by
Meyer, Unkovic & Scott LLP, as counsel for Plaintiff, are known to me personally to be true, and,
if called upon to do so, I could and would competently testify thereto under oath.

5. On or about July 26, 2023, service was attempted, but was unsuccessful, by certified
mail to (i) Defendant’s registered agent in Texas,! and (ii) 1001 Altamesa Blvd., Fort Worth, TX
76134, the latter of which was the address to which two prior demand letters had been sent to the
Defendant, and which were later responded to by email from Defendant’s counsel, Jason Ciarochi.

6. Plaintiff thereafter attempted to serve the Complaint by certified mail to three other
business addresses listed on Defendant’s website:

(i) 100 Crescent Court, Suite 700, Dallas, TX 75201, which is listed as Defendant’s

Corporate Headquarters on Defendant’s website under the Contact Us page.

' Elite Casino Events LLC is a registered business with the Texas Comptroller of Public Accounts
with a Registered Office Street Address of 2205 North Henderson Ave, Dalla TX 75206.

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(11) 100 Congress Avenue, Suite 2000, Austin, TX 78701, which is listed as
Defendant’s Austin Location on Defendant's website under the Contact Us page.

Gii) 700 Milam Street, Suite 1300, Houston, TX 77002, which is listed as Defendant’s
Houston Location on Defendant's website under the Contact Us page.

Te Despite the attempts at service outlined in this Affidavit and the Affidavit of
Attempts by David Barberena, service has not been successful.

8. Pursuant to Federal Rules Civil Procedure 4(e)(1) and 4(h) Plaintiff seek to effect
service upon Defendant via (1) sending to Defendant’s business email

(info@EliteCasinoEvent.com), (2) sending by regular mail to the Altamesa Blvd. and North

Henderson Avenue addresses identified above, (3) posting at Elaine Davidson’s home address at

Windmill Hill Lane, and/or (4) in such other manner as this Court deems just and proper.

Qh. bebe pita.

Jaden Rankin-Wahlers

SWORN TO and subscribed before me

this 27+* day of SeP+ mbe2023.
Dn i £ Mus ms “Commonwealth of Pennsylvania - Notary Seal

Notary Public "Debra Ann Stewart, Notary Public

iaeq : : Allegheny County
My Commission Expires: | my commission expires September 7, 2027

\ Commission number 1264537
“¥emper, Pennsylvania Association of Notaries

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